Case 1:20-cv-00891-EK-SJB Document 25 Filed 12/09/20 Page 1 of 1 PageID #: 107

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 December 9, 2020

 BY ECF
 Hon. Sanket J. Bulsara
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:       Cruz v. Santana, No. 20-CV-891 (EK) (SJB)

 Dear Judge Bulsara:

 We represent Defendant Henry Santana in the above-referenced Bivens action. In accordance
 with the Court’s September 22, 2020 Scheduling Order, on behalf of both sides we
 respectfully enclose as Exhibit A hereto the parties’ Discovery Plan Worksheet.

 By separate letter-motion being filed concurrently with this submission, Defendant is
 requesting, with Plaintiff’s consent, a stay of the deadlines set forth in the Worksheet for
 Phase II that are subsequent to the proposed March 24, 2020 deadline for serving initial
 document requests and interrogatories, pending Plaintiff’s intended filing of a further
 amended complaint. The background to and reasons for the stay request are set forth in
 Defendant’s letter-motion.

 Thank you for your consideration of this matter.

 Respectfully,



 Elizabeth Wolstein

 Cc:       Baree Fett, Esq. (via ECF)
           Gabriel P. Harvis, Esq. (via ECF)
